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Subject_: _No subject Slatus: Sent
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To 11119/2017 Sent Servtce

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"o 11/1912017 Sent We went to earty.
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From 11!19!2017 Read Your not going to church‘?
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To 11119!2017 Sent Food is almost ready want to join us_
+13094021=194 11340{!_!?0-6)

Reinkl`ng Travie ”

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To 11119!2017 Sent We r home. And having breakfast casserme soon
+13094021494 11:21{UTC-6)

Reinking Travis "

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TC) 11118!2017 Sent Shoutd be after church
+13094021494 1 3:12{UTC-6)

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From 1111312017 Read Wr!| you be around tomorro'.‘a
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From 11116!2017 Read ls there a day you could meet me out 01 state, or
+1309¢1021494 11:16{UTC-6) will youjust let me take them?
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+13094021494 18:05{UTC-6) need to get my firearms back from you somehow
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Case 3:18-cv-0064O

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interesting

 

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Dlroelton:
incoming
‘t'o 711 5/201? Senl Do you want to still nieet?
+13094021494 tS_'BU(UTC-B)
Reinking Trav|s *
Dirootion:
_ _9_‘!_19_21£5!_________ .________________ . _
Frorn_ ?l‘| 51_2017 Read tjust ate at Toco Bel|
+13094021494 18:49{UTC-5)
Reinking Travis *
Diroollon: §
incoming _ _ _ .
`t’o 7115/2017 Sent Lst us know where l con put in GPS
+13094021494 13146(UTC-5)
Reinl<ing Travis *
D!resllon:
Outgoing
`To ?!15!20'17 Seni Sorry just go text We could
+'i309¢1621494 lS:AB(UTC-B)
Reiriking Travis *
Diroot!on:
Outgotng
Froin 7115!201? Read i`Jo you guys want to novo dinner inter‘?
+13094021494 18;17{UTC;5)
Reinking Travis *
Dltoollon'.
tn<:oniing _
Fiorn 6!23)'2017 Resd l wanted to teil you, that i'rn going to get
+13094021494 14:35(UTC-5) something‘s finished up hers, and then i*rn
Reinking Trnvis * moving out ot state again for \_'_.'o_rk_ 30 you don't
Dlrecfi(m: have to worry about me ever ags|n.
incoming
To 611?!2`017 Senl Can u come down and talk a minute
+13094021494 t?:§D(UTC-B)
Reinking Travls *
Diroct|on;
Ouigoing

 

 

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To 6f16!201“." q m A 3th Cali u cell tile when u gets chance thanks
+1399¢1021494 11151(UTC-5)

Reinking Tiavis *

Dlrocilon:

Ongoing

To 6»'10/2917 Sent Tlienl<s i'i| run by there

+‘13094021¢194 ‘i1:43{UTC-5)

Reini<ing Trevis *

Diiootion:

Oulgoing

Frorn 6110!2017 Rend Their is a red jeep Cherokee for sale et the corner
+13094021494 11:0?(UTC-5) of Baer end 9 right now for Gic t_ooi<s newer end
Reini<ing Travis “ nlce.

Dlreotion:

incoming

F`rorn 619.'2017 React You ore the some type of people who netted
+13094021494 il:O3{UTC-5} desire to the cross They acted out ot tenr,
Reint<ing Travis * because of what they didn'l understand
[Jirecllon:

incoming

Froni 619/2017 Reeo So don`t say nobody v.ferned you
+13094021494 09;1Q(UTC-5)

Reini<ing Travis *

Direclton:

incoming

Fr'or'n 619!201? Read You're going to heil for what you rere doing
+'l309402149¢t OS:SS{Ui'C-§)

Reinl<i'ng Travis "

Dirooti_on:

incoming

To 6!9!2017 Sent go to O`Brien‘s main omce right there by
+13094021494 07:13(UTO-5) detweiiler Mnrlne

Reinking Travis "

Dlrection:

Outgoing

`i‘o 6!8!2017 Sent Did u receive a new company credit card in the
+13094021494 22104(UTC»5) lest week

Reinking Trevis "

Dlrecllon:

Outgoing

Frorn 6§3!2017 Read K

+13094021494 ‘iS:41(UTC-5)

Reinking Travis "

Dil'eclttiti'tt

incoming

To 618/2017 Sent l might not know till nroming
+13094021494 13:41(UTC-5)

Reinking Travis *'

Direction:

Outgoing

TO 6}81'291? Sent i'ni checking

+13094021494 18:25(UTC-5)

Reinking Travis *

Direction:

Outgoing

Frorn 6181’2017 Reed There is niuitiple locations for thoi.
+13094021494 18:11(UTC-5)

Reinking Travis *

Direction:

|nconiing

 

 

 

 

 

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F"rom 618!2017 Fteed There is multiple locations forthst_
+13094021494 18:1t(UTC-5)

Reinking Trovis *

Direction:

incoming

To 613!2017 Sent |t‘s for Fritch i~teating end Cooiing
+13094021494 i?:§?(UTC~B)

Reinking Trevis t

Direction:

Outgoing

To 61812017 Sent Teke the E):cei because the new 40 has err oil
+13094021494 i?:§`f(UTC-§} leak and go to O‘Brien steel be down there at 3
Reini<ing Travis “ thanks

Dirsotlon:

Outgoing

From 618!2017 Reaci What time

+‘13094021494 17;53(UTC-5)

Reinl<ing Travis "

Dlrection:

inconnng

To 618!2017 Sent Csri u set motions in am
+13094021494 17:46(UTC-5)

Reinl<ing Travis *

Dlroction:

Outgoing

To 61812017 Senl i can see v.'hst's on for tomorrow
+13094021494 09;48(UTC-5)

Reinking Travis *

Direciion:

Outgoing

To 618/2017 Sent Sony already iett

+13094021494 09:48(UTC-5)

Reinl<ing Trsvis *

Diroction:

Outgoing

Frorn 618!201? Resd What time

+1 3094021494 09:41(UTC-5)

Reiril<ing travis *

Biroction:

incoming

To 6!8!2017 Sent Cen u run me lo Wiitinmsviiie this am
+13094021494 07;32(UTC~5)

Reinking Travts *

Diroctton:

Oirigoing

To 617/2017 Sent Do o want to go with me to do a dot job tomorrow
+1 3094021494 22:19(UTC-5)

Reini<ing Trsvis *

Direolion:

Onlgoing

To 5131!2€}1? Sent Want to go with me to bloomington to pick up my
+13094021494 09:54(UTC-5) computer.

Reinidng Travis *

Direclion:

Outgoing

 

 

 

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" 'ro ores/2017 sent vvere here
+13094021494 iQ;hO(UTC-S)
Reinl<ing Travis *
D|roction:
Oulgoing
i`:rom 5/29,*2017 Read Oic
+13094021494 18:42{UTC»5)
Reinl<ing Trnvis "
Dlrsclion:
_inconiing ___ ________ _ _
To 5!29)‘2017 Seni We con come by shortly
+1309402'i494 18;42(UTC-5)
Reinking Travis *'
Direotion:
session _
To 5!29/2017 3th Sure
+'i3094021494 18141(UTC-5)
Reini<ing 'i"ravis *
Direction:
Outgoing
From 5!29!2017 Reed Con you pick me up ii vre go to bdubt)s?
+13094021494 13:40(UTC-5)
Reini<ing Travis *'
Direciion:
incoming
To 5128!201?' Sent Corne over
+13094021494 't?:?»'l(tJTCrS)
Retni<ing iiavis "
D|rociion:
Outgoing
Ftoi'n 5i28!2017 Reso Yup
+13094021494 17:3?(UTC-5)
Reini<irig Trsvis *
blreeilon:
__ln__coming _ _ __
rs ' """ sizsrzoir sent ou you went to go our in the boat
+13094021494 17:35{UTC-_5)
Retnking travis *'
t)ireotion:
Outgoing _
To 5124!2017 Seni i<
+13094021494 19;12{UTC-5)
Helntting Trovis *
Direciion:
0“‘9°1“9 __ _ _ ___
Froin ` ` 5124!?01? Resrt l thought about it, but l think i'm going to stay in
+13094021494 19;09{UTC-5) tonight t went end played basketball unloan end
Reini<_ing Trsvis “ my legs ore sore
Diroctt_ori:
_incoi_hing _ __ __ _
'i'o 5124!201? Sonl You con come oven
+13094021494 tB;SB{tJTC-S)
Reini<ing Travls t
Dircotion:
Ouigoing

 

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Frorn j 7 `5!23)'201? h Reed ll goi"to the point whereiwes going to kiii'"in§seii,
+13094021494 20:23(UT&5) and one night l had s dream that Robin erii_ams
Reinking Travis " appeared to me in a dresni, and toid me ‘il’s not
mw¢“on, true, they are lust saying llior'. l think that was the
mcmann ' only thing that kept me from tolling niyseii,
' 9 because these people kept making up iies, end i
didn`t know What tires true These people tried to
h r,`»\. .. . rt ., . . 4 . k-i|l n]e‘
Froni 5!23/2017 Read Dod, | remember along time ago. right alter i
+13094021494 20:19{UTC-5) wrote Ts ior, l went outside_ and you were sitting
Rslnl<ing Travis " there in t re mini excavator_ You wouldn‘t tell me
D|mc"o__, what was going on, and you had this moonv look
mcm“m' ' on your face These people told ins inst you guys
-- 9 signed a nondisclosure agreenrent, to hide it from
me. lt your helping tiiem_. piosse stop rio matter
what it cost you. i don`t think you luiiy realize what
__ _ _ __ these people have hosp doing to nie, _
From 5!22!2_017 friend t thought ou were going to say, "then get your
+130940;21494 06:44(UTC-5) hull out o bed and get it yourseit." italia
Reini<inp Travi_s *‘
Dlrootlon‘.
incoming _ _ _ __ __ __
re " srzzréor`r "'sent i<
+1309402€494 06;44(UTC.-5)
Roinking Travis *'
Direoiion:
_Q__uigoing _ __ _ _ __ __
From 5122!?_01? Reaci No
+13094021494 06:43{UTQ~5)
Rciniring rravis -*
Diroctio-n:
_ _'_i_i€°“t'“§ __ _ _ _ __ __ __ __ ____ _ _ _
To 5!22/“2017 Sent Anv thing eiss
+13094021494 06;42{t_ii`C=5)
Reini<lng Trovis "
[;)iroclion:
__ssuse __ __ _____ _ _ _ _______ _ _
From ' 5122!2017 Ronu Yss
+13094021494 06:42(UTC=5)
Reini<_ing Trnvis *'
Dlrsoiion:
incoming __ __ _ _
T'o 5122!201? Seni Do o want o coilee
+13094021494 06:41(UTC=5)
risini<ing Travis *
t)irection:
___Qutgoing _ ___ ____
i="rorn 5122!2017 Reort Yea
4-13094021494 uti:rti{t_i'i“i_.‘;~tii
Reini<lng Travis t
Direot|on:
roofian _ _ _ _
To 5!22/201? Sont Ft u up
1'13094021494 DB:SB(UYC=SJ
Roinlring Trs\ris *
l_`_iirocllon:
91"‘3°_'_!?£1_ _ ______ __ _ ____ __
re " ` screen _ sent i<
+13094021494 12:31(UTGro)
ttoiniung T'rovis t
Diroolion:
O“'iiolti_ii__ _ _ ___

 

 

 

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`i?im§i oreti:)_"or__?_ noii<`s" veili'conio§i`meoiyiiiiaunoi_ioseoaiiiiei<'h.
71'13094021494 12:2§(!.) i`t}.i)

Rolnking T:'ovie *'
Dlroet|on:

__*_'_i"“i'“i"fi ______ ______ _____ _

`To ` 5!21!201_? item ` iiio\,'otiwontloii"iotr:oniohore orn'r`eet
+130£}:|02149? t‘,i::?.g(t_l‘f€:~‘_’>) somewhere

Rolnking Trnv e t

Dlreellon:

OE\QO§“Q_ _________ ____________ _ __ __

To 5121/20'[7 Sont ouro

§1{_30_3402_1¢19? _ t2:23(U't`C=5)

'on ng ‘ravo'

Direotion:

__O“‘i`-_i‘i_i'_i§ _ __ __._ ___ _____ _ _ ___

From 5!21/2017 itooo t.`)ttyeo do you want to gonot~r?

;_-_1:_50_§403_149;1 __ ~t.’Z:Z?_(UTC~£i)

on ing rowe

[illreetion:

locomth _ ____ __ _ __ _ _ ___________

:T_o 7 '§i'.¢?@t)'l? Se_it Wo riotth anytime ` j
alfiti)_§i¢iog__'td§)_rl _ tz;lo(ti‘i’@»§)
on ing 'rove
Diioclion:

Olfliwi"€i ...... ____ _ __
Frorn _ 5{21!2{)1? Ronri toniottlnie ore yougoing?

_{_=’lf_iti_;;i¢lo§§_tdt_;_rl _ 12:13(UTC‘5)
on ing ’ro o
Diroolion:
incoming __ _ _ _ _

`To_ " _ 5!21)‘2017 Senl Gfat)e andEvreroth_lntring_o_t>outgotn_gto_ttjo bail
+13094021494 t?:O‘?(U‘E’C:§) diamonds to practice lo-ler. id went to como_
t`ioinking Trovis ‘

Diroolion‘.

_@“*!`l'i'_i_i!_fi _ _______ _________ _ __ _ _ _ _______
To j 5!21!201? ' S'»nl lqueoeirton'tknor.')howto gottlierjnlo stonoi
5rtf_it)i‘i<lozt¢itirl it:BB(UTC-o`) th o _t;iotnt. Bot maybe them not getting access to
noini<ing `i°revie* geo .

Diroolion:

Q_L“Q?_ii_\_i! __ ____ _____ __ _______ _____ ___ _ ___ ____ __ _ __ ______ _ _____

timm ' 5!21120'|“/ noon looh'i egroo Wilh them breaking into my ooroonol
+13094021494 it:¢i2(U`t'C=5} r)ro*erty either,onttvtoiotingn' rightsto priva¢:y.

l`teini<ing Trnvio “

Diroolion:
i_n§oming

 

 

 

 

So ’nr going to do what I have o do.

 

 

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'Froin`j"`" " 512112017` " ' nom nnmsoiwn<snmilcmuot,ino¢mmnei
11309402__;_1494 iii/io(UTC~!§) nnyn'soio, inn oh woii_ t don‘t have to listen to into
Roinking 'l'rnvis *
IJEroott_on:
'“§9_'_‘?"‘9 __ __ ________________ _ _____ _ _ _ _ ______ _ _____ _____ _ ______________
Fro_n_i_ j 51"21[201_}'_ __ 'Rooci i rto'n't \'.'o__nt to bo told gay things inoij reriorrtty
41309402'1494 t‘t:;zo{ti'i'r);§) wixon l‘nn trying to worn annot gonna-thing etso_
I`ioi:'iking `I‘rnvio ~‘ and they novo boon onying stupid stott |itio, t'rn n
mmdio“, trnnsoo>cuni. nn€l things like ttint_ those people
im,m;“m.l’ o_!o making oosninptions nbonf what i‘n\
' h oxi)oriencinr , and forcing their own subjective
thoughts on mo, over the internal
t meo_n, t'vo ntren_<ty heard it all at this poinL tt just
gets annoying when they noon repeating it over
gr;dkovor. Thoy denny don't llncfoisinnd how t
1 n _
Fron\ ` _ 512‘1/20177 Rono Yoa those pooth ore still listening and reading
-+ 1309/1021de 1't;32(UTC-5) stuff on my phone over the internal t‘rn pretty
i'~toinking Trnvis * certain they iran use the GPS receiver on my
mmcnon, phone to track mo too.
incoming i'ni not into all thnt, So l decided that l wouio just
go op to the library it t want to learn about
_ ` sonlot_h_ingr
`I`o 5!21/2017 Sont Ok. is someone bothering you_
41309402‘1494 iG:BO(UTC=F))
Roinking `i‘ravis *
L)lroction:
01“90*"9 __ __ __ _ _ _
Fr'om _ 5/2'1[20`1 7 __ Ron<t H_ey cind, tthink_ _i‘m going to start keeping my
+13094021494 091'|3{UTC*5) phone turned oil fogu|nrly, excth when i"rn at
Roini<ing Travis *' work i Wil| check it periodicain through the
_ _ \'.*ookenos and nt night§, but it you don't hear tron'i
Dlro:‘tior
m C 013“ ng mo right nway, that's why.
't'o n 7 511-9_!201?'” §ont 7 CanmL-i"ca!i mo oman-n can ii """""
+1309402149¢3 ‘i5:35(UTC-5)
Reinking Travio '“
Diroot|on:
Outgoing 7 _ 7 _
To, j j _ _ 5!19!;017 _ Sent Con n cnn me when u' con
+13094021494 'i§:?,§(UTC;B}
Reinking Trnvi's *
Dtrootion:
Outgotng _ _ _ __
`i‘o 5!19f201? Sont Job is oif till Monday
+13094021¢194 06:43{UTC~5)
Reinking Travis *
Dirootton!
__ Outgoing
"t`o 5!1Bf2017 Sent K see u then
+13094021494 'i S:SB(UTC-B)
Roini<ing Travis ”
Dlroct|on:
_Ouig@i“o _ _ __
Fror'n 5{13!2017 Road i"tt plan on 7 if t don'f near from you
+13094021494 is:iz(UTC-§)
Reinking Travis "
Dlroot|on:
incoming

 

 

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From 5113!2017 Roao l oon‘t want to Stop on anyt)ody's toes oao, il you v
+11_3094021494 17:49(UTC-5) like What you got going on- lt you want don to go
Remt<ing Travis " with you tomorrow that’a ok to_ l don`t plan on
DHGC“G"_ doing th|s tong torrn, where Jetf has been with
manning you for awhilo, l just wonder it some of that stott is
why work cut back l know l probably upset the
grain flow guys, so maybe t waon’i the best
_____ __ _ employee althor.

‘ro 5115;20~1_7 ' """ aero 906 Laune conn irs a onto different man this nat n '
+1309402‘1494 OQ;BE{UlC-S) still got me here

Reinking Travia *

Dlroclton:
ongoing _ _

Frorn -5.'1 512017 Read Couhi you spell the street name for mo rlan? l'rn
t13094021494 OQ:ZE(UTC-B} not Seoing anything for laury

Ftoini<ing Travio t

Dlrootlon:

incoming

To 5!13/201? Senl t< thanks

+‘l309#t021494 tQ:BB(UTC-B}

Roinking Travis "

Dlrootlon:

Outgoing _ _

Frorr\ 5113!20_1_7 Read 29 1!2 inches

+13094021494 19:24(UTC'5)

Roinking travis ”

Dlrootion:

incoming _ _ __ _ _ __ _
From 5110!2017 Roarl http:!lnavalaviationnows.navylivo.doo|ivo_ntiUZOiii
+13094621494 09:15(UTC-5) f03lt dlramjot»now-threals-call-for-old-tech!
Reinl<ing Travis *

Dlroot|on:

incoming

Frorn 5i‘l 0§2017 Read Darl l just found thin today on the _intornot. lt _
+1369402149¢1 DQ:tB(UTC-S) always sooan iil<e l'rn a few months too tate to
Reinl<ing Travis * everything

Dlreollon:

incoming _ _

F`ronr 5!9¢'2017 Reao Thoy are rolling that thing over to the edge
+13094021494 13:47{UTC-5)

Roinking Travis *

Dlrootion:

lnoonnng

From 519!2017_ Read You and mo both pail

+13094021494 to;ld{UlC-§)

Reinlring Tfavis *

Diractio'n:

incoming

`i`o 519!2017 Sent Reatly t'll bo the last one out

+13094021494 18:12(UTC»5)

Reinl<ing Travia *

Dlrootlon:

outgoing

 

 

 

 

 

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Frorn 519)’201? Rsad Yea seven was going to be too tate
+13094021494 18:07{UTC-5)

Reiriking Travts *'

Dlreotlon:

incoming

To oig/2017 Sent R u up

+13094021494 OB:GB(UTC-S)

Reinl<ing Travis *

Dlrootion:

Outgoing

From 518!2017 Road Ol< sounds good

+‘13094021494 ia;¢i‘t(tiTC-o)

Relnldng Travis *‘

Dlrootion:

incoming

To 518!2017 Sent l‘|| pick n up at 5 30

+13094021494 19:37(UTC-5)

Reinl<ing Travts *

Dlrsoiion:

Outgoing

Frorn 517!2017 Roari `r’ea your welcome Soe you then
+13094021494 20140{UTC-5)

Reinlo’ng Travis *

l)lroolion:

incoming

To 517!2017 Sent Thanks for helping nte with the screens today l‘ll
+13094021494 20;25(UTC-5) see you at the shop at 5:30 thanks
Roinl<ing Travis "

Diroctlon:

Outgoing

`i'o 5!71‘2€]17 Sent Soo you soon thanks

+13094021494 11:32(UTC-5)

Fteinking 'iravis *

Directlon:

Outgoing

Frorn 5!7/2017 Read Ok

+13094021494 it:Ei(UTC-B)

Roinking Travis *'

Dlrootlon:

lncoming

To 517/2017 Sent l-iey l’m just getting ready to cook pork chops on
+13094021494 ‘l 1131(UTC-5} the grill with mastrod potatoes and corn on the
Reinking Travis * cob you're welcome to come

Dirooiion:

Outgoing

Frorn 5151'2617 Read Do you stitt need ma dad? l can get ready
+13094021494 16:55{UTC-5)

Roinl<;ing 'i'ravis ’”

Dlreclton:

incoming

To 515!2017 Sant They just called and said we could probably move
+13094021494 i3:3ri(UTC-5) them cranes around about 3:30 this afternoon let
Roinlo'ng Travis " me know if that Worl<s for you thanks
Dlroclion:

Outgoing

 

 

 

 

 

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To 513!2017 Sent Weii u tube just saved me a bunch of money
+13094021494 2011 3(UTC-5) again Got lite washer fixed

Reinking Travis "

Directlon:

Oulgoing

To 5!3!20‘i7 Sent Sure thanks for helping nte.
+13094021494 13;36{UTC-5)

Reinking Travis "

[)ireotion:

Ouigoing

F rom 513!2017 Read Titanks for buying, and taking me to lunch dad.
+13094021494 15:31(UTC*5) Tnanlrs for going with me and helping me.
Reinking Travis “

Dil’e¢ll©ilf

incoming

To 5@2017 Sent t don't have address call me_ l was in shower
+13094021494 19.'35(UTC-5) earlier.

Reinking Travis *

ijireotlon:

Outgoing

Frorn 51212017 Read Yea text me the address

+13094021494 19;30(UTC-5)

Reinking Travis "

Direotion:

incoming

To 5!2:'20'! 7 Sent Rooiiop d standard

+1 30911{}21494 tQ:Z¢t(UTC-§)

Reinking Travis *

Diroction:

Ouigoing

'E'o 5!2)'201 7 Sent Didn't know ii you would want to do a short job in
+13094021494 tg;Z¢t(UTC-§) arn.

Reinking Travis *

Diroctlon:
dOntgoing

From 5!1!201? Read Oi< thanks

+13094021494 12;31(UTC-5)

Reinking travis "

Direoiion:

incoming

'i'o 511/2617 Sent 3804

+'i 3094021494 iZ;BD(UTC-B)

Reiniring Travis *

Direoiion:

Outgoing

To 4i16120'17 Senl Haopy Easier love you

+13094021494 OSZSB{UTC-B)

Reinking Travis *

Direoiion:

Oulgoing

To 413)'201_7 Seni ii does work with the stripper down l just didn‘t put
+13094021494 i?:§t(UTC-B} it down just so u could see it

Reinking Travis. *

Direction:

Ouigoing

 

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Frorn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

¢ll312{lt7 Read Yea en somehow il would have lo work with
+1309_4021494 17;49(UTC-5) salely systems like that thing to brace lite metal
Reinking Travis *‘ down
Dirocllon:
incoming M g
`To 4i312017 Sent Untess l made a an adjustable unit to fit tables
+1309-4021494 i?:dB(UTC-B)
Reinking `l`ravis *'
Direclion:

9,“_‘_9_91'!9 m
To 4/3!_2017 Sent l guess iwouldn‘t ii l had a neely eneth rail ?
+13094021494 t?:/io(UTC-§)

Reinktng Tievis "
{Jirocllon:

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Oittgoing 5!22120*[? Toi +1309402'¥4§4 R u up
06:38(UTC-5) Reintting Tr'o`vis _
incoming 5122!2017 t-‘rom; +130911021494 Yeo
oG:¢tt(UTC-§) Reiniring Trnvis
Outgoing 5[22/2017 To: +1309¢102‘!494 Do u want o coffee
___ 05141{UT_C-5) Reinking travis
incoming 5122/2017 From: +13094021494 Yes
06;42(UTC-5) Reinlring travis
Ontgolng 5!22{201? To; +13094021494 Any thing else
_ Oo:¢tHUTC'-§_}_ _Reint-ring Treyis
incoming 5122/2017 _ t__:rom: +i3091102‘t494 No
OhirtB{UTC~S) Reirttrt_ng Trayis
Oirigoiog 5/221201__? To: +13094021494 t(
_ w 0614‘1(UTC-5)_ __ R€irtl<ihs T!_ri_‘-'ie _ ,_ __ _ _
incoming 51‘22!2017 From: +13094021494 t thought you were going to soy, ”then get your
US:¢irt(UiC-B) Relntring Tra\'is _ britt out of bed and get it yoursett_" idaho _
incoming 5123/2017 From: +130940211194 Dao, t remember etong time ogo, right otterl
20;19(UTC~5) Relnkhtg Troy'is wrote Toytor, t went outside, and you were
sitting there in the mini excavation You
wout_on’t lett me what was going on, and you
had this moony took on your tone These
peoote toto me that you guys signed a non
disclosure ngreerneni, to hide it from me. lt
your helping them, pteos'e etop no matter what
it cost you_ l doh`t think you futiy realize what
_ these peopte have been doing__to me
incoming 5/23!2017 From; +13094021494 lt got to the point ymere l was going to kill

 

 

ZOZZB(UTC-B)

 

 

Reintn'ng Travts

myseif, and one night l had a dream that
Rot)in Wiilloms appeared to ms in a dream,
and toto me “tt‘s not true, they are just saying
that"_ l think that ives the only thing that kept
me from hitting myseii, because these people
kent making up ties, and t didn't know what
was true. These people tried to toll nte_

 

 

 

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Oirigoing 512412017 To: +130940214§4 You can come over.
'iS:§B(UTC-§) Reini~:ing Travis

incoming 5r24!2017 From: +13094021494 t thought about it, but t think i‘m going to stay
19:09(UTC-5) Reinking Travis in tonight i went and oiayed basketbeii

uptown and my tegs are sore

Outgoing 5!24f20t? To: +13094021494 i<
1911 Z(HTC-B) Reini»ring Travis

Ontgoing 5123!2017 To: +13094021494 t}o you want to go out in the boat

__ 17:35(UTC-5) Retniring Travis

incoming 5!28!2017 From: +13094921494 Yup
i?:B?(UTC-§) Reinking `t’rayis

Otrtgoing 5!231‘2017 To: +1 309402t494 Come oyer
17'_37(UTC-5} Reinidng Travis _

incoming 5!291201? From'. +13094021494 Can you pick me up it we go to bdrrhi)s?
13:40(UTC-5} Reintring `t`rayis

Outgoing 5!29!201 7 To: +13094021494 Sure
18:41(UTC~5} Reini<ing Travis

Ciutgoing 5)’29/2017 To: +1309402i494 We can come by shortly
18:4`2(UTC-5) Reiniring Tra\.'is

incoming 5!29!2017 From: +i 3094021494 Ok
‘lS:¢tZ(UTC~§) Reiniring Trayis

Outgoing 5!29/2017 To: +13094021494 Were here
19;OD(UTC-5) Reiniring Travis

Outgoing 5131!2017 To: +13094021494 Weni to go with me to bloomington to pick up
09:54(UTC-5) Reiniring `i'ravis my computer.

Outgoing 617!201? To: +1309402‘i494 Do u went to go with me to do a 401 job
22:19(UTC-5) Reinidng Trevis tomorrow

Ciutgoing 618!2017 To; +13094021494 Can u run nieto V\'iiiiamsviiie this am
0?:32(UTC-5) Reiniring Trayis

incoming BIB!?_OtT From: +13094021494 What time
09:41(UTC-5) Reini-ring Trayis

Outgoing 6!8!2017 To: +13094021494 Sorry aiready left
09:48{UT05) Reinicing Travis

Ontgoing 618!2017 To: +13094021494 l can see wiret's on for tomorrow
09:4B(UTC»5) Roinicing Trayts

Outgoing 6!81'201? To: +13094021494 Can u set motions in am
1?:46(UTC-5) Reiniring Tra\.'is

incoming 6!3!201? From: +13094021494 initial time
17:53(UTC-5} Reiniring Travis

Outgoing 618!201? To: +13094021494 Tat<e the E>rcei because the new 49 has an oil
1?:57(UTC-5) Reinidng Trayis leak and go to O`Bn`en steel be down there et

B thanks

Outgoirig 618!2017 To: +13094021494 lt's for i-'riich i-ieating and Cooiing
t?:§?(UTC-§) Reintring Travis

incoming 618!2017 From: +13094021494 There is muiiipfe locations for that.
18:11(UTC-5) Re-iniring Travis

Outgoing 61'8!’2017 To: +13094021494 i‘m checking
18:25(1}`|'0-5) Reiniring irevis

Outgoing 6}8!2017 To: +1 3094021494 t might not know int morning
18:41(UTC-5) Reiniring Travis

incoming 6)'$2017 From: +13094021494 K
‘iS:41(UTC-5) Reini<ing Travis

Ootgoing 618!20‘¥7 To: +13094021494 Did n receive a new company credit card in
22104(UTC»5) Reinirtng Travis the inst week

Ontgoing 5!9/2017 To: +13094021494 go to O'Bn'en‘s main oiiice right there by
07:13(UTC-5) Reinking Travis detweiiier Niarina

incoming 619/2017 Frem; +13094021494 You're going to neil for what you are doing
08135(£}`{€-5} Reiniring Travis

 

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incoming 6!9!2017 From: +13094021494 So don't say nobody women you
09:19[UTC-5) Reini<ing Trayis
incoming 6!91201? Frorn: +13094921494 You are the same type of people who nailed
ti:O?,(UTC-§) Reinking Travis Jesus to the cross_ They acted out ot iear,
_ because ot what they didn‘t understand
incoming 611 01201?' From;_+t 3094_021494 Their is a red jeep Cheroiree for sale at the
iiiO?{UTC~S) Reiniong Travrs corner ot Baer and 9 right now ior ol<. t_ooks
newer and nice. ____
Dutgoing oil 01201 7 To: +13094021494 Thani<s t‘it run by there
iii43(UTC-5) Reini<ing Travis
Ouigoing 6116!2017 To: +13094021494 Caii tr call me when u get a chance thanks
1'i :51(UTC-5) Reini-ring Travis
Gutgoing 6117/2017 To: +13094021494 Can u come down and talk a minute
17:50(UTC~5) Reiniring Travis
incoming 6.'23!2017 From: +13094021494 i wanted to tell you, that i`m going to get
14:35(0?0-5) Reinlong 'i'ravis something's hutshed up bere, and then i‘m
moving out of state again for work So you
don‘t have to worry about me ever again_
incoming ?!151'2017 Frorn: +13094021494 Do you guys want to have dinner iaier?
18:17(UTC-5) Reinlting Travis
Outgoing 7!1 51201? 'l'o: +13094021494 Sorry just go text We could
tS:4B(UTC.-5) Reinidng Travis
Outgoing 7/15!2017 To: +1309402i494 Let us know where t can put in GPS
18:48[UTC-5) Reiniring Travis
incoming 7/15!2017 From: +13094021494 ijust ate at Taco Eieii
18:49[UTC-5) Reini<ing Traws
C)utgoing 7115/2017 To; +13094021494 Do you want to still meet?
18250[UTC-5) Reiniring 'i`ravis
incoming 7{15!2017 From; +13094921494 Sure
18:51(UTC-5) Reinking Tiavis
Outgoing 7115/201? To: +13094021494 Where South Brentwood about 5 miles off ot
13:54(UTC-5) Reintdng 'i'ravis 65
incoming 7,‘15!2017 Frorn: +13094021494 idi< dart i think i'rn just going to head out ot
13;59(UTC-5) Reinidng Travis here.
incoming 7!1 512017 From: +13094021494 i was going to get a room to go to church in
ie:OO(UTC-§) Reinl<ing iravis the morning, but i don't want to see any ot
those peopie anyway.
Otttgotng “r'l‘t 512017 To: +13094021494 Oir
ig:Oi(UTC-E)) Reinidng Travis
|hcoiiiiiig Tf1612017 Ftomi +13094021494 il rig 2335_'
21 ;ooturc~s) aeiniong hans ~‘-‘='W#~}Pg
incoming 711 61201 7 From: +1 3094021494 E)<cept it's beige
21;01(UTC-5) Reini<ing Travis
incoming 7716!2017 From: +13094021494 Or pewter
2i ;OZ(LiTC-§} Reinhing Trayts
Outgotng 711 612017 `io: +13094021494 That looks good i_ooits more midsized
21:12(UTC-5) Reintting Trayis
Outgoing 7!2112017 To: +13094621494 Do n want to go to iunch.
12:07(UTC-5) Reiniring 'l'ravis
incoming 7.*26)2017 Frorn: +13094021494 Are you going to be at the shop today?
07:11(UTC-5) Reinlring Travis

 

 

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Ouigoing 7!26!201? To: +13994021494 l have my tax appointment this morning then t
07:49{UTC-5) Reini<ing Travis will go get my haircut
incoming 7126!2017 From: +13{}94021494 Ol<
OY:BQ(UTC-B) Reiniring Travis
incoming 7!26)'2917 From: +13094021494 l'm supposed to be getting a keyboard and
OB:OS(UTC-S) Reinl<ing Trayis stand in from ups l think that guy irno'i'rs the
____ _____ ___ __ combo to the door though ____
Ontgoing 7126£29't7 To: +13094021494 lie does
__ _ __ 98:13{0?€-5) Reini<ing Travis _ _______
Otitgoing 7!26!2017 To: +13994921494 liow did everything go and your stuff came in
12:43(UTC-5) Reintdng Travis for boxes t put it up outside your door
Outgoing 7!28!201? To; +13094921-194 Sorry t missed your cati last night Try me
__ lozZ?(LiTC-§) Reini-ring "i'rayis again. ____ _ _ _
incoming 7131!2017 From: +i3094921494 Excuse ina tor venting earlier dad_ t feel
Zi:OS{UtCWB) Reinldng Travis terrible ii i'm accusing you of something your
not involved in. i don't know what to believe
anymore
Haye ton on vacation, and tell mem and Gabe
_ that l love them | love you to dad.
Outgoing ?/31/2017 `i’o: +1309402i494 t< t iove you too_

 

 

 

21119(UTC-5)

 

Reiniring Travis

 

 

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incoming

 

 

 

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Reini<ing Trevie

 

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novo to tell me the truth ettner.

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hurt over the fact theti believe
/ou the truth about it, then i
t to accept the consequences

ole to finish my invention
:oinntunity service before taking
layne saying this will get me
mprisoned agein, or kicked out
coontpiish thet, out then l'il just
t blank space that houses

tt you’ve done to destroy roy lite

a that you,_ and these people Who
. oouici in fact fit the profile of a
don‘t say that to insult you, out
you more aware of how you are

s around you.

iein assaulted by this person
iiiy assaulted day after day i
extieliy assaulted in the pest,
zrced o reiive that with someone
of people who help sanction it

e yon.

ropes and drearns out as o kld.
'e concerned about how you
ther people than to who i ives
towing up. Yo'u sold rny heart for
ead it would gain you in our

our church i'heci to figure it out
’ter you peat me down to

to find that we are here at the
galn, and you choose to sell my
. for another slice of bread For
fsiiver.

t lot of good things that i'_rn

d. You always provided for us.
in the teoie, i don't hale ou for
you’ve done. l oniy hate he

:)u take, and the Ways in which

' it. l won't be abused en more
>tvnatever i have to do, o avoid

 

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_ 3217/2017

 

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' too ou care tt

 

151 OZ(UTO- 5) Reirtktng Travis roy eye itt my
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g 10:47(UTCBS) Relnkihg TFsvis §101'770`171
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tilZ?(UTCF§) §§elni<tng Travie 1t‘§ ohe§per th
j 2 _ i_ _____ ____,__2_ n 7'§5__[*9
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§ `_ 17:59(UTC 5) 17elnt<lt'7§ Travle __ _
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` 79 24(UTC~5) Reint<ing Travis ive you o oo;

 

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eo of the ston/.__

‘* 7*2774'§§777 hesitate
ttruo and l nee__ to ride my bike

 

 

     
 

 

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__§_ § § § ___17_:25(01‘6_5)__§ Ftei'nl<i_ng Trevis _
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outgoing ' ` ` 3177/20"17 ' 73 37302402`7434 733 even goal
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incoming 811?1201? §rom: 413094021494 K
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` ' it:ZO(UTC-§)) Totnrny Ati<ine t<el|ye
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incoming 9/2212077 §iom: +1§094021494 thave to work
OO:ZB(UTC-S) Rein§_1_ng Ti’avis _

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07:27(UTC-=5) § Reint<ing Trevis __ _ _ _

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t7:32(UTC-5) Reinl<ing Travis

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' 15:05(1_1'1‘®=6) Relnt<irlg Troyis going to nete
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to get my flr337'm3 back from

 

 

you could meet 3731337 of 373173
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_ 13:`QT(UTC=6)R Reinking Travis _ M_
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¢¢¢¢¢¢¢¢¢ 13:12(UTC»B) Reinking Tr'avls

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N 11:21(1}“¥'©»:§) ______ W_F€eink§ng Travis soon
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_ 11:40(UTC=6) Reinking Travis

Incoming 11/'19/2017 From: +13094021494 Your not going
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11:50(UTC-B) Reinking Travis
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at ready Want to join us.

 

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